 Case 3:20-cv-02047-N-BK Document 14 Filed 11/06/20                Page 1 of 1 PageID 297



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

IMRAN G.,                                     §
                     PETITIONER,              §
                                              §
V.                                            § CIVIL CASE NO. 3:20-CV-2047-N-BK
                                              §
MARC J. MOORE, ET AL.,                        §
               RESPONDENTS.                   §



     ORDER ACCEPTING FINDINGS, CONCLUSIONS AND RECOMMENDATION
               OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made Findings, Conclusions, and a Recommendation

in this case. No objections were filed. The Court reviewed the proposed Findings, Conclusions,

and Recommendation for plain error. Finding none, the Court ACCEPTS the Findings,

Conclusions, and Recommendation of the United States Magistrate.

       IT IS THEREFORE ORDERED that the petition for writ of habeas corpus under 28

U.S.C. § 2241 is DISMISSED WITHOUT PREJUDICE for lack of jurisdiction as moot.

       SO ORDERED this 6th day of November, 2020.




                                                     __________________________________
                                                       UNITED STATES DISTRICT JUDGE
